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                                                                                                       Jacob A. Goldberg
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                                                                July 9, 2024

     VIA ECF

     Hon. Pamela K. Chen
     United States District Court
     Eastern District of New York
     225 Cadman Plaza East
     Brooklyn, New York 11201

             Re:      Alejandro Handal v. Tenet Fintech Group Inc.,
                      1:21-cv-06461-PKC-RLM

     Dear Judge Chen:

              We represent Lead Plaintiff Alejandro Handal (“Plaintiff”) in this securities class action.
     By letter dated April 8, 2024, we informed the Court that the parties have reached a settlement, in
     principle, resolving all claims against all Defendants in this Action. (Dkt. No. 53). By letter dated
     May 21, 2024, we alerted the Court that we required more time to complete the full stipulation of
     settlement and accompanying documents. (Dkt. No. 54). By letter dated May 30, 2024, we alerted
     the Court that while the parties have resolved most substantive issues, Defendant had failed to pay
     the first of several installments in satisfaction of the Settlement. (Dkt. No. 55). By letter dated June
     21, 2024 (Dkt. No. 56), we informed the Court that Defendants had not paid the first installment
     of the Settlement Amount into the escrow account as the Memorandum of Understanding requires.

             We file this status report to update the Court according to the Court’s June 21, 2024, order.

             Despite Plaintiff’s good faith forbearance, as of today, Defendants have failed to pay the
     first two installments of the agreed-upon Settlement Amount. Defendants have, therefore,
     materially breached the binding Memorandum of Understanding for settlement, damaging the
     putative investor class. According to a July 4, 2024, email from Defendants’ counsel, “the rescue
     funding the company had been counting on has not been funded. Although there is some chance
     it will come through, or alternative financing might be obtained (without which the Company
     would likely fail), the settlement has not been funded and Tenet lacks the ability to do so now.”
     Counsel concluded, “[s]hould the company obtain financing and be in a position to fund, we will
     let you know.” In no way whatsoever did Defendants condition the settlement, as the Memorandum
     of Understanding memorializes it, on obtaining financing.

             Consequently, Plaintiff intends to enforce the Memorandum of Understanding against all
     Defendants, resorting to all potentially viable methods, including executing on a judgment on the
     assets of all Defendants in Canada and China. Accordingly, Plaintiff respectfully requests the

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     Court’s permission to submit a status report by July 23, 2024, informing the Court of his course of
     action to enforce the Memorandum of Understanding.

             If the Court has any questions, please contact us.


                                                                Respectfully submitted,

                                                                /s/ Jacob A. Goldberg

                                                                Jacob A. Goldberg

     cc:     All counsel of record (via ECF)




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